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6
                              UNITED STATES DISTRICT COURT
7
                            EASTERN DISTRICT OF CALIFORNIA
8
                                 SACRAMENTO DIVISION
9
     NAKIA VICTORIA PORTER, an              Case No. 2:21-CV-00766
10   individual, and JOE BERRY
     POWELL, JR., an individual,
11                                          CIVIL RIGHTS COMPLAINT FOR
                Plaintiffs,                 DAMAGES AND INJUNCTIVE
12                                          RELIEF
                       v.
13
     SOLANO COUNTY SHERIFF’S
14   OFFICE, COUNTY OF SOLANO,
     DEPUTY DALTON                          DEMAND FOR JURY TRIAL
15   MCCAMPBELL, an individual,
     DEPUTY LISA MCDOWELL, an
16   individual, SGT. ROY STOCKTON,
     an individual, and DOES 1 to 10,
17   inclusive,
18              Defendants,
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                                        COMPLAINT
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 1         Plaintiffs NAKIA VICTORIA PORTER and her father JOE BERRY POWELL,
 2 JR. (collectively, “Plaintiffs”) bring this action demanding a jury trial against Defendants
 3 SOLANO COUNTY SHERIFF’S OFFICE, COUNTY OF SOLANO, DEPUTY
 4 DALTON MCCAMPBELL, DEPUTY LISA MCDOWELL, SERGEANT ROY
 5 STOCKTON, and DOES 1 to 10 (collectively, “Defendants”) for violations of their
 6 constitutional and civil rights. Plaintiffs allege the following based upon personal
 7 knowledge and information and belief:
 8                              I.     NATURE OF THE ACTION
 9         1.     On August 6, 2020, Defendants Dalton McCampbell and Lisa McDowell,
10 who are Solano County Sheriff’s deputies, arrested and assaulted Ms. Nakia Victoria
11 Porter, as well as then brutally beat her out of consciousness, without cause outside her
12 vehicle in front of her father, Mr. Joe Berry Powell, Jr., and three children—her two
13 daughters (ages 3 and 4) and her niece (age 6). After tossing Ms. Porter in the back of
14 their Sheriff’s vehicle, unconscious, the same defendants proceeded to handcuff and
15 falsely imprison Mr. Powell in the back of another Sheriff’s vehicle, leaving the three
16 children alone and scared inside the vehicle at night for about an hour while numerous
17 Sheriff’s deputies illegally searched the vehicle finding no evidence of any crime
18 whatsoever.
19                             II.   JURISDICTION AND VENUE
20         2.     This Court has jurisdiction over the claims alleged in this Complaint under
21 28 U.S.C. §§ 1331 (federal question) and 1343 (civil rights), as well as Article III of the
22 U.S. Constitution. Supplemental jurisdiction over state law claims is proper under 28
23 U.S.C. § 1367 because all claims arise from a common nucleus of operative facts that are
24 so intertwined that they cannot be reasonably separated.
25         3.     Venue is proper in this Court under 28 U.S.C. § 1391(b) because Defendants
26 reside in and can be found in this judicial district, and a substantial part of the events or
27 omissions giving rise to the claim occurred within the County of Solano, State of
28 California, within the Eastern District of California.

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 1                                       III.   PARTIES
 2         A.    Plaintiffs
 3         4.    Plaintiff NAKIA VICTORIA PORTER (“Ms. Porter”) is a 33-year-old,
 4 Black woman and resident of Orangevale, California. She is an accomplished software
 5 engineer at one of the leading semiconductor companies in the world, a mother of three
 6 children under seven years old, a dance instructor, and a motivational speaker. She holds
 7 bachelor’s and master’s degrees in computer science from North Carolina A&T State
 8 University, a top-ten Historically Black College & University where she graduated
 9 summa cum laude, was awarded the Cyber Corps Scholarship for Service, and served as
10 Co-President of the Association of Computing Machinery. She was also a Step Team
11 member of the National Society of Black Engineers.
12         5.    Ms. Porter graduated with a published thesis entitled, “Introduction of Cloud
13 Computing into the Computer Science Curriculum,” which serves as curriculum material
14 at North Carolina A&T State University. She also served as a Cyber Analyst at Johns
15 Hopkins University’s Applied Physics Laboratory (“JHUAPL”), one of the nation’s
16 largest university-affiliated research centers. Ms. Porter contributed to the Laboratory’s
17 work on cyber security, identity management security, and data privacy, and served as a
18 coordinator for JHUAPL’s ATLAS Program, which provides opportunities to minority
19 students. In addition, Ms. Porter has interned for the U.S. Department of Energy and
20 Naval Sea Systems Command in Washington, D.C., the largest of the U.S. Navy’s five-
21 system commands.
22         6.    Beyond her accomplishments in computer science, Ms. Porter is an
23 accomplished athlete, musician, and community leader. She was a Mid-Eastern Atlantic
24 Conference Championship cheerleader and now teaches dance and gymnastics to young
25 children in Northern California. She also plays the cello, consistently volunteers her time
26 at community events, and is often asked to give motivational talks.
27         7.    Ms. Porter is five (5) feet, two (2) inches tall, and weighs 125 pounds.
28         8.    Plaintiff JOE BERRY POWELL, JR. (“Mr. Powell”) is Ms. Porter’s father.

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 1 He is a 61-year-old, Black man and resident of Orangevale, California. He is an
 2 accomplished computer operations manager. Prior to retiring and starting his own
 3 computer media company, Mr. Powell worked for almost 30 years in computer
 4 operations, networking, and database management, including working for NAVAIR,
 5 which is one of the Echelon II Navy systems commands providing support for aircraft
 6 and airborne weapon systems for the U.S. Navy. Mr. Powell is the proud grandfather of
 7 six children.
 8         B.      Defendants
 9         9.      Defendant Solano County Sheriff’s Office (the “SCSO” or “Sheriff’s
10 Office”) is a public entity and law enforcement agency operating in Solano County,
11 California. Defendant SCSO has a clear and present duty to follow California and United
12 States law. See, e.g., California Const. Art. III § 3.5. Defendant SCSO is sued both in its
13 own capacity pursuant to Monell v. Department of Social Services, 436 U.S. 658 (1978),
14 and on the basis of respondeat superior under California Government Code Section
15 815.2 (“Cal. Gov. Code § 815.2”).
16         10.     Defendant County of Solano (the “County” or “Solano County”) is a public
17 entity and political subdivision duly organized and existing under the laws of the State of
18 California. The County has a clear and present duty to follow California and United
19 States law. See, e.g., Cal. Const. Art. III § 3.5. Upon information and belief, the County,
20 through its Board of Supervisors, oversees the Solano County Sheriff’s Office. The
21 County is sued both in its own capacity pursuant to Monell, 436 U.S. 658, and Shaw v.
22 State of California Dept. of Alcoholic Beverage Control, 788 F.2d 600 (9th Cir. 1986),
23 and on the basis of respondeat superior under Cal. Gov. Code § 815.2.
24         11.     Under Monell, a local governing body can be sued directly under 42 U.S.C.
25 § 1983 when a constitutional violation “implements or executes a policy statement,
26 ordinance, regulation, or decision officially adopted and promulgated by that body’s
27 officers.” 436 U.S. at 690. This includes liability for customs which “ha[ve] not received
28 formal approval through the body’s official decision-making channels.” Id.

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 1         12.   Upon information and belief, SCSO and the County have a policy, practice,
 2 pattern, and/or custom of unlawfully permitting the use of excessive force in violation of
 3 the U.S. Constitution and California law. This policy, practice, pattern, and/or custom is
 4 carried out with municipal funds and directly causally related to the constitutional
 5 deprivations that Plaintiffs suffered by the unlawful actions of SCSO deputies.
 6         13.   Upon information and belief, SCSO and the County have a policy, practice,
 7 pattern, and/or custom of unlawfully permitting and overlooking racially discriminatory
 8 tendencies and practices by their deputies against communities of color in violation of the
 9 U.S. Constitution and California law. This policy, practice, pattern, and/or custom is
10 carried out with municipal funds and directly causally related to the constitutional
11 deprivations that Plaintiffs suffered by the unlawful actions of SCSO deputies.
12         14.   Defendant DALTON MCCAMPBELL (“McCampbell”) (#12259) is a male
13 SCSO deputy and employee of the County and/or Sheriff’s Office sued in his individual
14 capacity. Deputy McCampbell is White. With Defendant McDowell, Deputy
15 McCampbell unlawfully arrested, assaulted, and detained Ms. Porter and Mr. Powell, and
16 fabricated charges against Ms. Porter to have her prosecuted.
17         15.   Defendant LISA MCDOWELL (“McDowell”) is a female SCSO deputy
18 (#13610) and employee of the County and/or Sheriff’s Office sued in her individual
19 capacity. Deputy McDowell is White. With Defendant McCampbell, Deputy McDowell
20 unlawfully arrested, assaulted, and detained Ms. Porter and Mr. Powell, and fabricated
21 charges against Ms. Porter to have her prosecuted.
22         16.   Defendant ROY STOCKTON (“Stockton”) is a male SCSO sergeant
23 (#07668) and employee of the County and/or Sheriff’s Office sued in his individual
24 capacity. Sergeant Stockton is White and, upon information and belief, affiliated with the
25 extremist group The Three Percenters, whose members have espoused antigovernment
26 and racist rhetoric. Sergeant Stockton, acting on authority of the SCSO, supervised
27 Deputies McCampbell and McDowell in connection with this case and approved their
28 falsified reports so that they could be submitted to the Solano County District Attorney’s

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 1 Office to have Ms. Porter prosecuted on fabricated charges and cover up the Defendant
 2 Deputies’ unlawful acts. The District Attorney’s Office declined to prosecute Ms. Porter.
 3              IV.     FACTUAL ALLEGATIONS COMMON TO ALL COUNTS
 4         A.         The Arrests, Assault, & Battery by Solano County Sheriff’s Deputies
 5         17.        On August 6, 2020, at approximately 9:00 p.m., Ms. Porter and Mr. Powell
 6 (her father) were driving from Oakland, California to their home in Sacramento County.
 7 They had gone to Oakland to visit and console Ms. Porter’s friend and fellow dance
 8 instructor whose student had recently undergone a medical difficulty. Ms. Porter had
 9 taken her daughters (ages 4 and 6) and niece (age 3) along to visit the Malanga Center in
10 Oakland to learn about the history of African drums, dance, and culture. On the drive
11 back, the occupants in the vehicle were Ms. Porter, Mr. Powell, and the three children.
12 Ms. Porter was/is the owner of the vehicle, which is a Toyota Highlander.
13         18.        The distance between Oakland and Orangevale is approximately 106 miles
14 and the drive takes approximately two hours.
15         19.        Ms. Porter had been driving for approximately an hour at night when she
16 decided to let Mr. Powell drive the rest of the way home. At approximately 9:13 p.m.,
17 Ms. Porter took the Midway Road exit off the 80 freeway in Solano County and turned
18 into Chevron Way in Dixon—a dark, small, unpopulated, dead-end road with no traffic.
19 She stopped her vehicle at a location where it was safe to switch drivers. With no traffic
20 on the street, Ms. Porter—a small woman, 5 feet 2 inches tall, weighing 125 pounds—
21 exited her vehicle and proceeded to walk around to the back of the vehicle to the
22 passenger’s side, where Mr. Powell had also opened his door and started to exit the
23 vehicle to switch seats. The three children remained in the backseat of the car.
24         20.        The area was dark and neither Ms. Porter nor Mr. Powell realized that there
25 were Sheriff’s patrol cars on Chevron Way when they parked the car to switch seats. The
26 patrol car’s lights had come on after Ms. Porter had already stopped her vehicle and put
27 the car in park, and Plaintiffs were in the process of exiting their vehicle to switch
28 drivers. In other words, the Defendant Deputies did not initiate any traffic stop. Rather,

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 1 they simply approached Plaintiffs while Plaintiffs were parked and had initiated the
 2 process to switch seats. Ms. Porter was walking towards the rear of her vehicle when she
 3 first noticed a Sheriff’s patrol car with its lights on. As Ms. Porter reached the back of her
 4 vehicle to go around to the passenger’s side to switch seats with her father, she noticed a
 5 female deputy (Deputy McDowell) saying something to her.
 6         21.    Ms. Porter had not violated any traffic laws and thereby could not fathom
 7 that the officer intended to stop her for any reason. She also could not believe that the
 8 officer would object to her switching seats with her father, which is advisable from a
 9 safety perspective to avoid driver fatigue. It was unclear to Ms. Porter why the deputy
10 was there. As such, Ms. Porter innocently greeted the deputy, saying, “Hi.” Deputy
11 McDowell asked Ms. Porter to “get back in the car.” Ms. Porter explained very calmly
12 and respectfully that she was just switching seats with her father. Deputy McDowell
13 acknowledged this and responded, “Okay. But get back in the car,” in a way that
14 indicated to Ms. Porter that she should continue to switch seats and go inside the car. Ms.
15 Porter waved her hand to acknowledge the deputy’s request and complied by continuing
16 to walk to the passenger’s side to switch seats. Ms. Porter’s father also calmly came out
17 of the vehicle to make the switch.
18         22.    However, at this point, a male deputy (Deputy McCampbell) appeared and
19 pointed his gun at Ms. Porter and her car, saying, “Get back in the car now. This is a
20 traffic stop. Get back in the car.” Ms. Porter, extremely confused because she had not
21 been stopped for a traffic violation, responded, “Huh?” Ms. Porter then calmly explained
22 to Deputy McCampbell, as she had done so to Deputy McDowell, that she was switching
23 seats with her father and that there were children in the car. Still confused by the
24 deputies’ commands, Ms. Porter explicitly asked if the deputies wanted her to go back to
25 the driver’s seat. Deputy McCampbell responded, “Yes, get back in the car.” Ms. Porter
26 then immediately began to walk back to the driver’s side, and Mr. Powell went inside to
27 the passenger’s seat, in full compliance with the deputies’ commands.
28         23.    Throughout the encounter with the deputies, Ms. Porter, a woman of very

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 1 small stature, was clearly visible to the deputies. She made no threatening movements at
 2 all and was clearly not armed or attempting to flee. She and her father also calmly and
 3 fully complied with the deputies’ commands, even though Ms. Porter had not violated
 4 any traffic laws to her knowledge and had explained to both deputies that there were
 5 children in the car and she and her father were simply switching seats – and seemingly
 6 received permission from Deputy McDowell to do so.
 7         24.    There was absolutely no cause for Defendants McCampbell and McDowell
 8 to put their hands on, arrest, or handcuff Ms. Porter or take her into custody. In fact, the
 9 Constitution and California Penal Code Section 853.5(a) explicitly prohibited them from
10 doing so. Nevertheless, as Ms. Porter was walking back to the driver seat, Deputy
11 McCampbell (the male deputy) unexpectedly yelled, “You know what, detain her!” This
12 was only about one minute after the initial encounter between Ms. Porter and Deputy
13 McDowell. As Mr. Powell closed his car door to comply with the command, he
14 explained once again that they were simply switching drivers. The deputies did not care
15 and Deputy McDowell arm-locked Ms. Porter and began to handcuff her to take her into
16 custody without having probable cause that Ms. Porter had committed any crime.
17         25.    Ms. Porter did not understand what was happening and feared for her life
18 and the lives of her father, daughters, and niece. She had been complying with the
19 deputies’ orders and had not provoked them in any way. Ms. Porter attempted to
20 straighten her arm and ask what was happening, as anyone in her situation would; she did
21 not make any threatening movements against the deputies or attempt to flee. Instead, she
22 pleaded for her rights to be read and respected. Despite this, in a show of unjustified,
23 brute force and power, Defendant McCampbell joined Defendant McDowell, and the two
24 deputies forcibly pinned Ms. Porter up against her car in front of her children and father
25 and handcuffed her.
26         26.    As the deputies engaged in excessive force and unjustifiably assaulted and
27 arrested Ms. Porter, body camera footage shows that Ms. Porter had relented to being
28 handcuffed and was only pleading for her rights. The confusion, panic, and fear in her

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 1 voice and face are clear and palpable in the video.
 2         27.    The pretextual reason the deputies gave for taking Ms. Porter into custody
 3 was that they had noticed a mismatched license plate. However, the deputies had called
 4 in the rear license plate to their dispatch and knew that it matched the description of the
 5 car and that there was no report of the car being stolen. Furthermore, a mistake or error in
 6 the display of license plates is a non-moving traffic infraction under California Vehicle
 7 Code Section 5200 et seq. for which “a peace officer shall only require the arrestee to
 8 present his or her driver’s license or other satisfactory evidence of his or her identity for
 9 examination and to sign a written promise to appear contained in a notice to appear[.]”
10 Cal. Penal Code § 853.5(a) (emphasis added). “Only if the arrestee refuses to sign a
11 written promise, has no satisfactory identification, or refuses to provide a thumbprint or
12 fingerprint may the arrestee be taken into custody.” Id. (emphases added). As such, even
13 if the Defendant deputies’ pretextual reason for the arrest was to be believed, clearly
14 established statutory law prohibited the deputies from taking Ms. Porter into custody.
15         28.    At that point, during the encounter, the Defendant Deputies had already used
16 unreasonable, excessive force and unlawfully taken Ms. Porter into custody without
17 probable cause and in violation of a clear statute. If they had left her standing there
18 handcuffed, this would have been a clear constitutional violation, but they decided to
19 violate the law even more egregiously. They dragged Ms. Porter away from her vehicle
20 and outside the view of the Sheriff’s patrol car dashboard camera, each large officer
21 grabbing one of her arms as Ms. Porter fearfully pleaded for an explanation and her
22 children and father watched helplessly in horror.
23         29.    Outside the view of the dashboard camera, McCampbell and McDowell—
24 both of whom are much larger than Ms. Porter—brutally beat Ms. Porter. They
25 repeatedly punched, kicked, kneed, and struck her in the back of the neck, head, face, and
26 stomach, as she struggled and prayed for her life in desperation, pleading, “God, bless
27 me! Bless me, God!”
28         30.    After beating her and knocking her to the ground, Defendant McCampbell

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 1 (the male deputy) forced Ms. Porter onto her stomach and mounted her while Defendant
 2 McDowell, who is a large female deputy, grabbed Ms. Porter by the hair and shoved her
 3 face into the concrete. Ms. Porter gasped for air as her life flashed before her eyes; she
 4 thought she was going to die on this abandoned side road wondering what would become
 5 of her father, daughters, and niece. She struggled for her life as Deputy McCampbell sat
 6 on her with all his weight, screaming, “You’re going to get tased!”
 7         31.   Ms. Porter quickly lost consciousness from the severe beating and the
 8 weight of the large male deputy. Body-camera footage shows McCampbell’s brooding
 9 shadow mounted on top of Ms. Porter’s tiny frame for almost a minute even after she lost
10 consciousness; he appeared to be sitting on her catching his breath from the beating he
11 had just given her. (Later, he would tell the paramedics, “I had full mount on her.”)
12         32.   Deputy McCampbell then dragged Ms. Porter to the Sheriff’s vehicle and
13 tossed her inside while she was still unconscious. She was unconscious for over five
14 minutes before waking up inside the Sheriff’s vehicle. Upon information and belief, loss
15 of consciousness for five minutes or longer from head trauma is considered a Grade III
16 concussion, which is the most severe on a scale of I to III. See,
17 e.g., https://mayfieldclinic.com/pe-concussion.htm. Such a concussion should be
18 reported, examined, and treated by a medical professional to avoid risks of long-term,
19 adverse consequences. Id. Nevertheless, when describing the beating to the paramedics
20 for treatment later that night, Deputies McCampbell and McDowell grossly lied about
21 how long Ms. Porter had remained unconscious, further placing her life and limb in
22 danger to conceal the seriousness of their own violations of the law. See infra ¶ 39.
23         33.   After assaulting Ms. Porter and locking her up in the Sheriff’s vehicle while
24 unconscious, the Defendant Deputies proceeded to remove Mr. Powell from his vehicle,
25 where they had detained him while he helplessly witnessed the same deputies assault and
26 beat his daughter and tried to calm his young granddaughters, fearing for all of their
27 lives. The deputies had no cause to take Mr. Powell into custody. He had committed no
28 crime and had been fully compliant with the deputies’ unreasonable orders in the face of

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 1 an immensely trying situation.
 2         34.    Nevertheless, the Defendant Deputies ordered Mr. Powell out of the car and
 3 terrorized and humiliated him by making him walk backwards over 30 feet at gunpoint
 4 with his hands on the back of his head. McCampbell handcuffed him and placed him in a
 5 Sheriff’s vehicle different from the vehicle in which Ms. Porter was detained. Mr. Powell
 6 is 61 years old, decades older than Deputy McCampbell. Still, throughout the encounter,
 7 McCampbell demeaned Mr. Powell by calling him “young man,” which to Mr. Powell
 8 sounded like the racial slur “boy” used to demean Black men.
 9         35.    After all this, Mr. Powell continued to explain in a remarkably calm and
10 polite way that he and his daughter were just switching seats so that he could drive. His
11 three granddaughters (ages 3, 4, and 6) were left alone in the car in the dark, scared
12 without their caretakers and having witnessed their mother/aunt being arrested and
13 beaten, and their grandfather also being taken from them. To make matters worse, the
14 entire time the young girls were alone, their mother’s assailants, the Defendant Deputies,
15 along with other Sheriff’s deputies were illegally searching the car. Of course, they found
16 no evidence of a crime because there was no crime.
17         36.    After Ms. Porter regained consciousness, Deputy McCampbell proceeded to
18 question her while handcuffed and in the Sheriff’s vehicle. She was in shock and in tears.
19 She did not resist and politely provided her name and identification. Deputy McCampbell
20 called in the identification to the dispatch who immediately confirmed that Ms. Porter
21 was the owner of the vehicle. The time it took for Deputy McCampbell to obtain Ms.
22 Porter’s identification and confirm that it was her vehicle was less than two minutes.
23 Neither Deputy McCampbell nor Deputy McDowell asked about the mismatched license
24 plate, and they did not issue Ms. Porter any infraction citation or fix-it ticket.
25         37.    The confusion with the license plate was that Ms. Porter had moved from
26 Maryland to California and had forgotten to remove the Maryland front license plate.
27 Defendant Deputies simply needed to follow California law (California Penal Code §
28 853.5(a)) and allow Ms. Porter to provide her identification and an explanation, which

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 1 she was more than willing to do. Instead, they chose to arrest, detain, and beat her
 2 without cause in violation of the U.S. Constitution and California law and caused
 3 considerable injury to the entire family.
 4         38.    After the assault, when other officers arrived at the scene, Deputies
 5 McDowell and McCampbell made false statements and fabricated evidence in collusion
 6 with one another to justify their unlawful attack and to arrest and jail Ms. Porter and
 7 submit false evidence against her to the District Attorney for charges to be filed.
 8 Specifically, the Deputies McCampbell and McDowell made the following false
 9 statements: (i) that Ms. Porter “did this to herself” (untrue); (ii) that the deputies initiated
10 a traffic stop (untrue); (iii) that Ms. Porter was non-compliant and refused to get back in
11 the car (untrue); (iv) that the Defendant Deputies put their hands on Ms. Porter because
12 she tried to flee and attacked Deputy McDowell first (untrue); and (v) that Ms. Porter
13 punched Deputy McCampbell in the face (untrue). All of these statements are provably
14 false by video and audio evidence recorded by the Sheriff’s deputies’ body and
15 dashboard cameras.
16         39.    When the paramedics arrived at the scene, Ms. Porter requested that they
17 transport her to the hospital. Deputies McCampbell and McDowell denied the request,
18 continuing to lie to the paramedics by minimizing the assault and the injuries they had
19 inflicted on Ms. Porter. Deputy McCampbell said that Ms. Porter had been unconscious
20 for a total of “no more than twenty (20) seconds.” Deputy McDowell minimized the
21 assault even more egregiously, saying that Ms. Porter had been unconscious for “five (5)
22 seconds.” Both of these descriptions are provably false as Ms. Porter was unconscious for
23 over five (5) minutes, and the deputies knew they were lying. In fact, Deputy
24 McCampbell had dragged Ms. Porter to the Sheriff’s vehicle and tossed her inside while
25 she was unconscious (as recorded on video and audio), but he lied that she was able to
26 move her legs and walk to the car so that he could minimize her injuries. As a result of
27 the Defendant Deputies’ deliberate lies to avoid accountability, Ms. Porter’s head injuries
28 were never properly examined.

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 1         40.   Instead of allowing the paramedics to take Ms. Porter to the hospital, as Ms.
 2 Porter had specifically requested, Deputy McDowell transported Ms. Porter in a Sheriff’s
 3 vehicle to a hospital of their choice. Deputy McDowell made it clear that she was taking
 4 Ms. Porter to the hospital only to be “medically cleared” en route to jail, continuing to
 5 minimize the attack and injuries.
 6         41.   Ms. Porter was checked into the emergency room of the North Bay Medical
 7 Center. She felt scared and intimidated in the hospital to fully share what had happened
 8 to her, since Deputy McDowell had participated in the beating and lied about it, and still
 9 had control over her. Ms. Porter had no privacy as Sheriff’s deputies made sure that they
10 were present during the medical examination.
11         42.   In addition to lying about how long Ms. Porter was unconscious, Sheriff’s
12 deputies continued to lie to hospital staff about the incident, making Ms. Porter appear
13 like the assailant and criminal and mocking her. Ms. Porter recalls that she was not
14 properly examined at the hospital, and it appeared that the hospital staff were there
15 simply to “clear” her to be taken to jail, not to legitimately examine her. Despite the
16 severe beating Ms. Porter had suffered and the likelihood that she had a Grade III
17 concussion, her head was not properly examined for a concussion. There was no MRI
18 done that would normally have been performed in such a situation so that she could
19 receive the proper treatment to avoid long-term consequences.
20         43.   Ms. Porter was thus swiftly moved through the hospital and transported by
21 Sheriff’s deputies to the Solano County jail. They continued to treat her like a criminal
22 based on Deputies McCampbell and McDowell’s false and fabricated statements.
23         44.   The SCSO booked Ms. Porter on charges of obstruction and resisting
24 executive officers and set bail for $25,000. The SCSO had no probable cause to hold Ms.
25 Porter and yet they continued to violate her civil rights. She was used as an example for
26 new Sheriff’s trainees on how to book and jail an arrestee. They seized Ms. Porter’s
27 purse containing her identification and cash. Using threats, Sheriff’s deputies forced Ms.
28 Porter to divulge her social security number, provide a DNA swab, and took her

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 1 fingerprints. They were not entitled to do any of this information because there was no
 2 justification for her arrest in the first place.
 3         45.    Sheriff’s deputies kept Ms. Porter imprisoned in a jail cell overnight on
 4 fabricated charges until Ms. Porter’s husband, who was out of town, posted a $25,000
 5 bond, which cost the couple $2,500 just to post. At the time of release, Ms. Porter was
 6 not allowed to make a phone call to have someone pick her up. Moreover, the SCSO
 7 released her without giving her the cash they had seized from her, which left her isolated
 8 without a ride or cash to make a phone call using a pay phone. Ms. Porter’s mobile phone
 9 had been left in her own vehicle when Deputies McCampbell and McDowell
10 unexpectedly took her into custody. Ms. Porter thus found herself lost in a strange area
11 without a phone or any cash. Fortunately, she was able to find a Starbucks and briefly
12 borrow a mobile phone from a stranger to call her family for help. Strangers living
13 outside the Starbucks showed Ms. Porter more humanity than the Sheriff’s deputies did.
14 One man (without a home) bought her a drink from Starbucks and another woman (also
15 without a home) shared some bread with her. Ms. Porter conversed with these people
16 until her family arrived to pick her up.
17         46.    Regarding the cash that the SCSO seized from Ms. Porter, the SCSO placed
18 it in a strange account that required Ms. Porter and her husband to go through a
19 convoluted process to retrieve their money. They were charged significant fees.
20         47.    Based on Deputy McCampbell and McDowell’s false statements, the SCSO
21 recommended to the Solano County District Attorney’s Office that Ms. Porter be
22 criminally prosecuted for preventing an executive officer from performing a duty by
23 means of threat or violence in violation of California Penal Code Section 69. Ms. Porter
24 was restricted from traveling and was required to check in with the bail bond company on
25 a weekly basis, which was very stressful and humiliating for a professional in her
26 position who had done nothing wrong and had her rights violated.
27         48.    On September 28, 2020, the District Attorney’s Office declined prosecution,
28 filing a Notice of Intent Not to Prosecute. Ms. Porter showed up to the courthouse in

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 1 early October, on the date she was required to appear, and received this Notice at the
 2 courthouse.
 3         49.    Sheriff’s deputies also detained Mr. Powell and restricted his freedom for
 4 approximately 45 minutes to an hour, a significant portion of which he was detained in
 5 the rear of a Sheriff’s vehicle in handcuffs, all of which was unjustified and
 6 unreasonable, as neither Ms. Porter nor Mr. Powell had done anything wrong.
 7         50.    Eventually, on the same night that he was detained, Mr. Powell was released
 8 and allowed to drive back home in Ms. Porter’s vehicle with the children.
 9         B.     Plaintiffs’ Injuries
10         51.    As a result of the unlawful seizure, assault, and excessive force by
11 Defendant Deputies McCampbell and McDowell, Ms. Porter and Mr. Powell suffered
12 physical and psychological trauma—trauma that would scar anyone for life—and they
13 are still dealing with the effects of this trauma.
14         52.    Ms. Porter suffered physical injuries to the head, face, neck, and body—all
15 where officers had admittedly punched and kicked her. Her bruising showed that she was
16 visibly struck in the neck and head areas near the spine that could have paralyzed or
17 killed her. She had signs of a severe Grade III concussion. She was unconscious for more
18 than five minutes and experienced long-term headaches, trouble sleeping, confusion,
19 mood swings, irritability, feelings of sadness, feelings of nervousness and anxiety,
20 sensitivity to light and noise, and dizziness.
21         53.    Ms. Porter was bruised all over her body and experienced pain in her neck,
22 face, head, wrists, shoulders, and stomach from the arm lock, handcuffs, punches, knees,
23 kicks, and strikes. The acute pain was extreme and persisted for approximately four
24 weeks. Mr. Powell also experienced pain and bruising from the handcuffs that persisted
25 for weeks.
26         54.    In addition, the Sheriff’s deputies violently pulled out Ms. Porter’s braids
27 from her head, which was extremely painful. Over the course of the days that followed
28 the beating, Ms. Porter found her braids falling out because they had been pulled out and

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 1 weakened in multiple places. She eventually had to cut off the hair that she had grown for
 2 approximately ten years, because the pain of the hair being ripped out was too much for
 3 her to take and reminded her too much of the assault she had endured.
 4         55.    The psychological trauma has been severe and long-lasting. Both Ms. Porter
 5 and Mr. Powell constantly relive the horror on a daily basis, experiencing fear, insecurity,
 6 mistrust, anxiety, and difficulty relaxing. They have nightmares.
 7         56.    As a result of the experience, Ms. Porter has had difficulty connecting with
 8 her children, husband, family, and friends as she did in the past. She has experienced
 9 feelings of shame and isolation, as well as frequent feelings of sadness and mistrust that
10 she did not have before the incident. She even feels panic and anxiety upon physical
11 touch. She finds it difficult to receive healing and engage in self-care as she did prior to
12 the incident. She finds that she has a diminished feeling of self-love and struggles to
13 continue living with the sense of dignity she felt before she was brutally attacked. She
14 describes it like living in a box.
15         57.    Mr. Powell also feels constant guilt and powerlessness for not being able to
16 protect his daughter and family. As a father, he was made to watch his daughter be
17 handcuffed and beaten by law enforcement without any provocation. Like any father, he
18 wanted to stop the deputies, but he could not because they had badges and guns, and they
19 had ordered him to stay inside the car. He believed that if had he gotten out of the car, the
20 deputies would have shot them both, which happens to people of color—people like him
21 and his family—far too often. Mr. Powell knows logically that it is not his fault, that
22 there is nothing he could have done differently, yet he still feels a sense of shame and
23 loss of dignity that he constantly grapples with.
24         58.    The young children in the car have also been psychologically scarred, which
25 places additional stress and burden on Ms. Porter, Mr. Powell, and their family, who
26 must now worry about having to help their daughters and granddaughters deal with and
27 process the trauma. For example, the children are now afraid to travel, which is a basic
28 activity that children should be able to freely enjoy with their parents. It is well known in

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 1 the psychology field that for children who are at the formative age range of three to six
 2 (as Ms. Porter’s children and niece were), the psychological trauma of watching their
 3 mother, aunt, or other caretaker be physically assaulted leaves deep feelings of insecurity
 4 and is developmentally scarring—it is clinically considered child abuse.
 5         59.    Ms. Porter and Mr. Powell reside in Sacramento County and still travel
 6 periodically to the Oakland area. Each trip causes fear and anxiety as a result of what
 7 they experienced at the hands of the Sheriff’s deputies. They legitimately fear that they
 8 may fall victim to excessive force and constitutional violations at the hands of Sheriff’s
 9 deputies yet again driving through Solano County.
10         C.     Pattern and Practice of Racial Profiling and Excessive Force
11         60.    Upon information and belief, the use of racial profiling and excessive force
12 has become a pattern and practice among Sheriff’s deputies in Solano County. In fact,
13 excessive force practices in Solano County are so numerous and rampant that it led to the
14 creation of the Solano County Major Crimes Task Force by the District Attorney in
15 November 2020. The Task Force is responsible for conducting independent
16 investigations into the use of deadly force by law enforcement officers in the County.
17 However, the Task Force has not done an adequate job, and deputies continue to engage
18 in excessive force, which, upon information and belief, the County and the SCSO
19 condone and overlook, permitting it to continue.
20         61.    Upon information and belief, Deputies McDowell and McCampbell’s gross
21 assault and terror inflicted upon Plaintiffs’ family is consistent with the excessive force
22 pattern and practice that exist within the SCSO. Indeed, despite the fact that these
23 deputies’ lies were caught on tape, the SCSO and County have done nothing to address
24 the constitutional violations or hold the deputies accountable for their illegal actions,
25 cover-up, and fabrication of charges. These actions, in combination with the frequency of
26 excessive force incidents engaged in by Solano County deputies, show that the SCSO
27 and County have a policy of covering up and condoning excessive force and racial
28 profiling rather than investigating and ending it.

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 1         62.   Upon information and belief, Defendant Sgt. Roy Stockton is a member of
 2 or otherwise affiliated with the extremist group “The Three Percenters” (see discussion
 3 below), and he knowingly approved Deputies McCampbell and McDowell’s crime
 4 reports containing the false statements and fabrication of evidence that were submitted to
 5 the District Attorney’s Office to have Ms. Porter prosecuted on false charges.
 6         63.   Upon information and belief, deputies at the SCSO, including Sgt. Roy
 7 Stockton, belong to, are affiliated with, and/or support the extremist group known as The
 8 Three Percenters. See Scott Morris, Solano deputies, Vacaville councilmember promote
 9 anti-government militia, OPEN VALLEJO, February 4, 2021. Upon information and belief,
10 members and affiliates of The Three Percenters show a consistent penchant for extreme
11 force and violence and racist ideologies. See infra.
12         64.   Upon information and belief, the SCSO and County refuse to appropriately
13 and transparently investigate their deputies’ membership and affiliation with this
14 extremist group, instead covering up, condoning, and permitting deputies to engage in
15 unlawful enforcement tactics based on extremist and racist ideologies within their ranks.
16 See Kim Fu, Solano sheriff’s staff accused of supporting anti-government militia group,
17 THE MERCURY NEWS, February 11, 2021; Scott Morris, FBI rebuffs sheriff’s claim it
18 cleared deputies of extremist ties, OPEN VALLEJO, April 26, 2021; Solano County Sheriff
19 Slammed Over Response to Claim Some Deputies Belong to Extremist Groups, CBS,
20 April 16, 2021; John Glidden, Community Group Slams Sheriff for Lack of
21 Transparency, SFGATE, April 15, 2021; Scott Morris, Amid calls for investigation,
22 sheriff stands by deputies who displayed militia support, OPEN VALLEJO, March 9, 2021;
23 Scott Morris, Solano deputies, Vacaville councilmember promote anti-government
24 militia, OPEN VALLEJO, February 4, 2021.
25         65.   Upon information and belief, the Three Percenters is a far-right, pro-gun
26 militia group opposed to the U.S. government. It was founded in 2008 as a reaction to the
27 election of President Barak Obama. See Jury convicted man in Oklahoma City federal
28 bomb plot trial, ASSOCIATED PRESS, February 25, 2019. Upon information and belief, in

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 1 response to Black Lives Matter protests following the 2014 shooting of Michael Brown
 2 in Ferguson, Missouri, the Three Percenters’ Facebook page featured numerous racist
 3 comments made by its supporters. See Mockaitis, Thomas R., Violent Extremists:
 4 Understanding the Domestic and International Terrorist Threat, Santa Barbara,
 5 California: PRAEGER, pp. 80–81, ISBN 978-1-4408-5949-6 (2019).
 6         66.   Upon information and belief, many members of the Three Percenters group
 7 are former and current members of the military, police, and other law-enforcement
 8 agencies, as well as other anti-government groups such as the Oath Keepers. See Spencer
 9 Sunshine, Profile on the Right: Three Percenters, POLITICAL RESEARCH ASSOCIATE,
10 January 5, 2016; Avlon, John, Anti-government hate militias on the rise, CNN, March 31,
11 2010.
12         67.   Upon information and belief, the group’s members have a record of
13 involvement in criminal activity and have been associated with acts of violence as well as
14 violent threats. See Spencer Sunshine, Profile on the Right: Three Percenters, POLITICAL
15 RESEARCH ASSOCIATES, January 5, 2016.
16         68.   Upon information and belief, supporters of The Three Percenters, among
17 others, were reportedly present and wore emblematic gear or symbols during the riots
18 and storming of the U.S. Capitol on January 6, 2021. See Thomas Pallini, Photos show
19 the aftermath of an unprecedented and destructive siege on the US Capitol that left 4
20 rioters dead, BUSINESS INSIDER, January 7, 2021; Trump supporters storm Capitol; DC
21 National Guard activated; woman fatally shot, THE WASHINGTON POST, January 7, 2021.
22 After breaching or being let through multiple police perimeters, these groups occupied,
23 vandalized, and ransacked parts of the building for several hours. Id. At least one man
24 tied to the Three Percenter movement was arrested and charged with involvement in the
25 attack; the man was also reportedly tied to two other extremist groups, the Oath Keepers
26 and Proud Boys, who are known for their racist rhetoric. See Devlin Barrett & Spencer S.
27 Hsu, FBI probes possible connections between extremist groups at heart of Capitol
28 violence, WASHINGTON POST, January 17, 2021; Jaclyn Peiser, Texas man at Capitol riot

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 1 allegedly threatened to kill his kids if they turned him in: ‘Traitors get shot’,
 2 WASHINGTON POST, January 19, 2021.
 3         69.    Upon information and belief, the Three Percenter group also operates in
 4 Canada, and one Canadian expert, Maxime Fiset, a former neo-Nazi who works with the
 5 Centre for the Prevention of Radicalization Leading to Violence, created in 2015 by the
 6 City of Montréal with the support of the Quebec Government, considers the Three
 7 Percenter group the “most dangerous extremist group” in Canada. See Hutter, Christy,
 8 Three Percenters are Canada’s ‘most dangerous’ extremist group, say some experts,
 9 CBC, May 10, 2018. Upon information and belief, in June 2021, six men associated with
10 the group were indicted for conspiracy in Canada, and Canada declared the group a
11 terrorist entity. Canada puts U.S. Three Percenters militia on terror list, cites risk of
12 violent extremism, REUTERS, June 25, 2021.
13         70.    California Government Code Section 25307.7 authorizes Solano County to
14 establish an oversight board to oversee the Sheriff’s Office, but the County has actively
15 resisted and gone out of its way to strike down any measure that would establish such a
16 board, which would actively and independently investigate the pattern and practice of
17 excessive force and racial discrimination that is currently being condoned and permitted
18 by the Solano County Sheriff’s Office.
19         D.     Concealment and Spoliation of Evidence
20         71.    After the Defendant Deputies had assaulted and imprisoned Ms. Porter,
21 numerous other Sheriff’s officers arrived at the scene, including the Defendants
22 Deputies’ supervisor, who was, upon information and belief, Sergeant Roy Stockton.
23         72.    As Defendant Stockton was walking over to the Defendant Deputies, a
24 paramedic could be heard on Stockton’s body camera saying, “Going to look out for one
25 of your boys . . . he messed up”; to which Stockton responds, “Yeah. Thanks.”
26         73.    After that, Stockton approached the Defendant Deputies. As he began
27 speaking to Deputy McDowell, she signaled to him and said that they should turn off
28 their body cameras, quite obviously to avoid being recorded. Stockton agreed and they

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 1 both quickly turned off their body cameras before discussing what had occurred.
 2 McDowell can actually be seen turning off her body camera. Nevertheless, the SCSO and
 3 County have refused to turn over McDowell’s body camera footage during the assault
 4 despite the fact that Plaintiff has made numerous requests for preservation as well as
 5 production under Gov. Code Section 6250 et seq. The SCSO and County claim that the
 6 footage does not exist, but video evidence shows this to be untrue.
 7         74.   Similarly, the SCSO and County have also not produced footage of Deputy
 8 McCampbell’s dash camera even though, on information and belief, the SCSO dash
 9 cameras are programmed to record constantly, and the footage should exist.
10         75.   Plaintiffs believe that by concealing these videos Defendants are engaged in
11 spoliation activity to conceal or destroy evidence that would further demonstrate their
12 assault and falsification of evidence against Ms. Porter.
13         76.   Defendants have been and continue to be on notice that they are under an
14 obligation to preserve all evidence. Moreover, if they continue to claim that this footage
15 does not exist, Plaintiffs will move the Court for a forensic examination of the subject
16 cameras—McDowell body camera and McCampbell’s dash camera from August 6, 2020.
17 The devices should be preserved.
18         E.    Administrative Claim
19         77.   On January 13, 2021, Plaintiffs submitted an administrative claim form with
20 a blue ink signature that was scanned and complied in all respects with Cal. Gov. Code
21 § 910. However, on January 20, 2021, a representative from Solano County left a
22 voicemail stating that the forms would not be accepted and needed to be resubmitted
23 because they appeared to be scanned or photocopied instead of the signatures being in
24 original blue ink. The County required Plaintiffs to resubmit the claim forms with
25 “original blue ink” signatures before the claims could be considered and processed even
26 though Cal. Gov. Code § 910 includes no such requirement. Plaintiffs contend that this
27 “original blue ink” signature requirement is an arbitrary and capricious requirement
28 above and beyond what Cal. Gov. Code § 910 requires—it is a nonsensical measure by

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 1 Solano County blatantly intended to make it difficult for people to file claims and it has
 2 the effect of assisting bad actors at the County to avoid liability for their malfeasance.
 3         78.    On January 20, 2021 (the same day the County official informed their
 4 counsel that an original blue ink signature was required), Plaintiffs resubmitted their
 5 administrative claim forms with original blue ink signatures.
 6         79.    On February 24, 2021, an adjuster representing Solano County called to
 7 request additional information about the administrative claim in order to process the
 8 claim. Plaintiffs’ counsel called back the adjuster and left a voicemail but did not hear
 9 from him again.
10         80.    To date, Defendants have not responded to Plaintiffs’ administrative claim.
11 Therefore, in this case, Cal. Gov. Code § 945.6 authorizes Plaintiffs to file this suit
12 within two years from the accrual of the cause of action. Cal. Gov. Code § 945.6(a)(2).
13
14                                V.      CLAIMS FOR RELIEF
15                                     FIRST CLAIM FOR RELIEF
16           FOURTH AND FOURTEENTH AMENDMENTS TO THE U.S. CONSTITUTION
17                                        42 U.S.C. § 1983
18                                      (UNLAWFUL SEIZURE)
19                                     (AIDING AND ABETTING)
20                                     (Against All Defendants)
21         81.    Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
22 claim for relief against all Defendants, who aided and abetted one another in the acts
23 alleged in this claim, and reallege and incorporate by reference in this claim each and
24 every allegation of the preceding paragraphs, with the same force and effect as though
25 fully set forth herein.
26         82.    “The Fourth Amendment protects against unreasonable seizures by the
27 government.” Gonzalez v. ICE, 975 F.3d 788, 819 (9th Cir. 2020) (citing U.S. Const.
28 amend. IV). “The infringement on personal liberty of any ‘seizure’ of a person can only

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 1 be ‘reasonable’ under the Fourth Amendment if we require the police to possess
 2 ‘probable cause’ before they seize him.” Id. (emphasis in original) (quoting Terry v.
 3 Ohio, 392 U.S. 1, 38 (1968)). “Whenever an officer restrains the freedom of a person to
 4 walk away, he has seized that person.” Tennessee v. Garner, 471 U.S. 1, 7 (1985).
 5         83.    When a person is seized for a traffic infraction, so too are all other persons
 6 in the vehicle. Villanueva v. California, 986 F.3d 1158, 1166 (9th Cir. 2021). The
 7 California Penal Code clearly provides that, for traffic infractions, “a peace officer shall
 8 only require the arrestee to present his or her driver’s license or other satisfactory
 9 evidence of his or her identity for examination and to sign a written promise to appear
10 contained in a notice to appear. . . . Only if the arrestee refuses to sign a written promise,
11 has no satisfactory identification, or refuses to provide a thumbprint or fingerprint may
12 the arrestee be taken into custody.” Cal. Penal Code § 853.5(a).
13         84.    As described in detail above in Section IV(Facts Common to All Counts),
14 Defendants, acting under color of state law, intentionally deprived Plaintiffs of rights,
15 privileges, and immunities secured by the Constitution and laws of the United States,
16 including the Fourth and Fourteenth Amendments, by seizing, arresting, unreasonably
17 taking into custody, and prolonging the detention of Plaintiffs without cause and in
18 violation of clearly established state and federal law. Defendant Stockton failed to
19 perform his duty to appropriately supervise the Defendant Deputies, and rather aided and
20 abetted them in covering up the violations, knowingly approving their falsified reports
21 for submission to the District Attorney’s Office to recommend prosecution against Ms.
22 Porter in order to shield Defendants from liability.
23         85.    As a direct and proximate result of Defendants’ aforementioned acts,
24 Plaintiffs were injured as set forth above.
25         86.    Individual defendants are personally liable under 42 U.S.C. § 1983 and not
26 immune based on the doctrine of qualified immunity.
27         87.    The County and SCSO are liable pursuant to Monell v. Department of Social
28 Services, 436 U.S. 658 (1978), because SCSO has a policy, practice, pattern, and/or

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 1 custom of unlawfully condoning, permitting, and not sufficiently addressing its law
 2 enforcement officers’ use of unlawful detention and excessive force in violation of the
 3 Fourth and Fourteenth Amendments. This policy, practice, pattern, and/or custom is
 4 carried out with municipal funds and directly causally related to the deprivations of
 5 Plaintiffs’ Fourth and Fourteenth Amendment rights by Defendants.
 6         88.    The County and the SCSO are separately vicariously liable under state law,
 7 because their employees, acting within the course and scope of their duties, are liable for
 8 this federal constitutional violation. Cal. Gov. Code § 815.2.
 9
10                                  SECOND CLAIM FOR RELIEF
11           FOURTH AND FOURTEENTH AMENDMENTS TO THE U.S. CONSTITUTION
12                                VIOLATION OF 42 U.S.C. § 1983
13                                      (EXCESSIVE FORCE)
14                                    (AIDING AND ABETTING)
15                                    (Against All Defendants)
16         89.    Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
17 claim for relief against all Defendants, who aided and abetted one another in the acts
18 alleged in this claim, and reallege and incorporate by reference in this claim each and
19 every allegation of the preceding paragraphs, with the same force and effect as though
20 fully set forth herein.
21         90.    “Excessive use of force in effectuating a seizure violates the Fourth
22 Amendment.” Sandoval v. Las Vegas Metro. Police Dep’t, 756 F.3d 1154, 1165 (9th Cir.
23 2014) (citing Graham v. Connor, 490 U.S. 386, 109 S. Ct. 1865 (1989)). Drawing and
24 pointing a gun at an unarmed, compliant suspect constitutes excessive force. Id. (citing
25 Robinson v. Solano County, 278 F.3d 1007, 1014 (9th Cir. 2002) (en banc)). Handcuffing
26 and detaining a person not suspected of any crime also constitutes excessive force. Id.
27         91.    As described in detail above in Section IV (Facts Common to All Counts),
28 Defendants, acting under color of state law, intentionally deprived Plaintiffs of rights,

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 1 privileges, and immunities secured by the Constitution and laws of the United States,
 2 including the Fourth and Fourteenth Amendments, by unreasonably pointing a gun at,
 3 handcuffing, detaining, and assaulting Plaintiffs. Defendant Stockton failed to perform
 4 his duty to appropriately supervise the Defendant Deputies, and rather aided and abetted
 5 them in covering up the violations, knowingly approving their falsified reports for
 6 submission to the District Attorney’s Office to recommend prosecution against Ms.
 7 Porter in order to shield Defendants from liability.
 8         92.   As a direct and proximate result of Defendants’ aforementioned acts,
 9 Plaintiffs were injured as set forth above.
10         93.   Individual defendants are personally liable under 42 U.S.C. § 1983 and not
11 immune based on the doctrine of qualified immunity.
12         94.   The County and SCSO are liable pursuant to Monell v. Department of Social
13 Services, 436 U.S. 658 (1978), because SCSO has a policy, practice, pattern, and/or
14 custom of unlawfully condoning, permitting, and not sufficiently addressing its law
15 enforcement officers’ use of unlawful detention and excessive force in violation of the
16 Fourth and Fourteenth Amendments. This policy, practice, pattern, and/or custom is
17 carried out with municipal funds and directly causally related to the deprivations of
18 Plaintiffs’ Fourth and Fourteenth Amendment rights by Defendants.
19         95.   The County and the SCSO are separately vicariously liable under state law,
20 because their employees, acting within the course and scope of their duties, are liable for
21 this federal constitutional violation. Cal. Gov. Code § 815.2.
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 1                                   THIRD CLAIM FOR RELIEF
 2       FOURTH, FIFTH, AND FOURTEENTH AMENDMENTS TO THE U.S. CONSTITUTION
 3                                VIOLATION OF 42 U.S.C. § 1983
 4                    (FALSE STATEMENTS AND FABRICATION OF EVIDENCE)
 5                                    (AIDING AND ABETTING)
 6                                     (Against All Defendants)
 7         96.    Plaintiff Nakia Porter (“Plaintiff”) brings this claim for relief against all
 8 Defendants, who aided and abetted one another in the acts alleged in this claim, and
 9 realleges and incorporates by reference in this claim each and every allegation of the
10 preceding paragraphs, with the same force and effect as though fully set forth herein.
11         97.    “[T]here is a clearly established constitutional due process right not to be
12 subjected to criminal charges on the basis of false evidence that was deliberately
13 fabricated by the government.” Devereaux v. Abbey, 263 F.3d 1070, 1074-75 (9th Cir.
14 2001).
15         98.    As described in detail above in Section IV (Facts Common to All Counts),
16 Defendants, acting under color of state law, intentionally deprived Plaintiffs of rights,
17 privileges, and immunities secured by the Constitution and laws of the United States,
18 including the Fourth, Fifth, and Fourteenth Amendments, by imprisoning Plaintiff on
19 fabricated charges and submitting false evidence against her to conceal their own
20 unlawful acts. Defendant Stockton failed to perform his duty to appropriately supervise
21 the Defendant Deputies, and rather aided and abetted them in covering up the violations,
22 knowingly approving their falsified reports for submission to the District Attorney’s
23 Office to recommend prosecution against Ms. Porter in order to shield Defendants from
24 liability.
25         99.    As a direct and proximate result of Defendants’ aforementioned acts,
26 Plaintiffs were injured as set forth above.
27         100. Individual defendants are personally liable under 42 U.S.C. § 1983 and not
28 immune based on the doctrine of qualified immunity.

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 1         101. The County and SCSO are liable pursuant to Monell v. Department of Social
 2 Services, 436 U.S. 658 (1978), because SCSO has a policy, practice, pattern, and/or
 3 custom of unlawfully condoning, permitting, and not sufficiently addressing its law
 4 enforcement officers’ use of excessive force in violation of the Fourth and Fourteenth
 5 Amendments. This policy, practice, pattern, and/or custom is carried out with municipal
 6 funds and directly causally related to the deprivations of Plaintiffs’ Fourth and
 7 Fourteenth Amendment rights by Defendants.
 8         102. The County and the SCSO are separately vicariously liable under state law,
 9 because their employees, acting within the course and scope of their duties, are liable for
10 this federal constitutional violation. Cal. Gov. Code § 815.2.
11
12                                 FOURTH CLAIM FOR RELIEF
13                   FOURTEENTH AMENDMENT TO THE U.S. CONSTITUTION
14                               VIOLATION OF 42 U.S.C. § 1983
15                                    (EQUAL PROTECTION)
16                                   (AIDING AND ABETTING)
17                                   (Against All Defendants)
18         103. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
19 claim for relief against all Defendants, who aided and abetted one another in the acts
20 alleged in this claim, and reallege and incorporate by reference in this claim each and
21 every allegation of the preceding paragraphs, with the same force and effect as though
22 fully set forth herein.
23         104. The Fourteenth Amendment prohibits law enforcement officers from acting
24 in an intentionally discriminatory manner. Lacy v. Villeneuve, No. C03-2442JLR, 2005
25 U.S. Dist. LEXIS 31639, at *12 (W.D. Wash. Nov. 21, 2005) (citing Bingham v. City of
26 Manhattan Beach, 341 F.3d 939, 948 (9th Cir. 2003)).
27         105. As described in detail above in Section IV (Facts Common to All Counts),
28 Defendants, acting under color of state law, intentionally deprived Plaintiffs of rights,

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 1 privileges, and immunities secured by the Constitution and laws of the United States,
 2 including the Fourth and Fourteenth Amendments, by unreasonably pointing a gun at,
 3 handcuffing, detaining, and assaulting Plaintiffs, and additionally jailing and fabricating
 4 evidence against Plaintiff Porter and submitting her case for prosecution. Plaintiffs had
 5 done nothing wrong, and their only distinguishing characteristic was that they are
 6 identifiably Black. Indeed, Deputy McCampbell had racially demeaned Mr. Powell by
 7 referring to him as “young man,” which to Mr. Powell sounded like the racial slur “boy”
 8 used to demean Black men. The Defendant Deputies together pulled out Ms. Porter’s
 9 braids as they were beating her, which, for a Black woman, is not only very painful but
10 soul crushing because it takes years of care and grooming to grow and develop the locks.
11         106. As discussed in greater detail above, Deputies McCampbell and McDowell
12 are supervised by Defendant Sergeant Roy Stockton, who is reported to have ties to the
13 extremist group The Three Percenters, whose members have openly espoused racists
14 beliefs and made racist remarks. Sergeant Stockton knowingly approved the false reports
15 written by Deputies McDowell and McCampbell to cover up their racially motivated
16 attack on Plaintiffs and to have Plaintiff Porter charged based on false evidence.
17         107. Upon information and belief, the SCSO and County refuse to appropriately
18 and transparently investigate their deputies’ membership and affiliation with the
19 extremist group The Three Percenters, instead concealing, condoning, and permitting
20 deputies to engage in unlawful enforcement tactics based on extremist and violent racist
21 ideologies within their ranks.
22         108. As a direct and proximate result of Defendants’ aforementioned acts,
23 Plaintiffs were injured as set forth above.
24         109. Individual defendants are personally liable under 42 U.S.C. § 1983 and not
25 immune based on the doctrine of qualified immunity.
26         110. The County and SCSO are liable pursuant to Monell v. Department of Social
27 Services, 436 U.S. 658 (1978), because SCSO has a policy, practice, pattern, and/or
28 custom of unlawfully condoning, permitting, and not sufficiently addressing its law

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 1 enforcement officers’ discriminatory enforcement and excessive force, in violation of the
 2 equal protection clause of the Fourteenth Amendment to the United States Constitution.
 3 This policy, practice, pattern, and/or custom is carried out with municipal funds and
 4 directly causally related to the deprivations of Plaintiffs’ Fourteenth Amendment rights
 5 by Defendants.
 6         111. The County and the SCSO are separately vicariously liable under state law,
 7 because their employees, acting within the course and scope of their duties, are liable for
 8 this federal constitutional violation. Cal. Gov. Code § 815.2.
 9
10                                   FIFTH CLAIM FOR RELIEF
11                   CAL. CIV. CODE § 52.1 (TOM BANE CIVIL RIGHTS ACT)
12                                    (AIDING AND ABETTING)
13                                    (Against All Defendants)
14         112. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
15 claim for relief against all Defendants, who aided and abetted one another in the acts
16 alleged in this claim, and reallege and incorporate by reference in this claim each and
17 every allegation of the preceding paragraphs, with the same force and effect as though
18 fully set forth herein.
19         113. The Tom Bane Civil Rights Act provides for liability when a defendant’s
20 threats, intimidation, or coercion interferes or attempts to interfere with “the exercise or
21 enjoyment by any individual of rights secured by the Constitution or laws of the United
22 States, or of the rights secured by the Constitution or laws of this state.” Cal. Civ. Code §
23 52.1(a).
24         114. As described in detail above in Section IV (Facts Common to All Counts),
25 Defendants, acting under color of state law, engaged in threats, intimidation, or coercive
26 acts that interfered with or attempted to interfere with the rights of Plaintiffs secured
27 under the Fourth, Fifth, and Fourteenth Amendments of the U.S. Constitution, Sections 7
28 and 13 of Article I of the California Constitution, and Cal. Pen. Code § 853.5. Defendant

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 1 Stockton failed to perform his duty to appropriately supervise the Defendant Deputies,
 2 and rather aided and abetted them in covering up the violations, knowingly approving
 3 their falsified reports for submission to the District Attorney’s Office to recommend
 4 prosecution against Ms. Porter in order to shield Defendants from liability.
 5         115. Defendants unlawfully took Plaintiffs into custody and imprisoned and
 6 detained them without probable cause for an unreasonably lengthy period, with the
 7 particular purpose of depriving Plaintiffs of the protections that applied to them under the
 8 U.S. and California Constitutions and state law.
 9         116. Defendants additionally unlawfully applied excessive force against Plaintiffs
10 with the particular purpose of depriving Plaintiffs of the protections that applied to them
11 under the U.S. and California Constitutions and state law.
12         117. Defendants also fabricated evidence against Ms. Porter in an attempt to have
13 her falsely charged with the particular purpose of depriving her of the protections that
14 applied to her under the U.S. and California Constitutions and state law
15         118. Defendants’ deliberate and reckless actions caused Plaintiffs to suffer
16 significant harm.
17         119. Individual defendants are personally liable under the Bane Civil Rights Act.
18         120. The County and the Sheriff’s Department are separately vicariously liable
19 under state law, because their employees, acting within the course and scope of their
20 duties, are liable under the Bane Act. Cal. Gov. Code § 815.2.
21
22                                  SIXTH CLAIM FOR RELIEF
23                     CAL. CIV. CODE § 51.7 (RALPH CIVIL RIGHTS ACT)
24                                   (AIDING AND ABETTING)
25                                   (Against All Defendants)
26         121. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
27 claim for relief against all Defendants, who aided and abetted one another in the acts
28 alleged in this claim, and reallege and incorporate by reference in this claim each and

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 1 every allegation of the preceding paragraphs, with the same force and effect as though
 2 fully set forth herein.
 3         122. The Ralph Civil Rights Act provides that “[a]ll persons within the
 4 jurisdiction of this state have the right to be free from any violence, or intimidation by
 5 threat of violence, committed against their persons or property because of political
 6 affiliation, or on account of [their sex, race, color, religion, ancestry, national origin,
 7 disability, medical condition, genetic information, marital status, sexual orientation,
 8 citizenship, primary language, or immigration status] . . . because another person
 9 perceives them to have one or more of those characteristics.” Cal. Civ. Code §§ 51 and
10 51.7.
11         123. As described in detail above in Section IV (Facts Common to All Counts),
12 Defendants, acting under color of state law, intentionally committed violence and
13 intimidation by threat of violence against Plaintiffs on account of their race, color, and
14 ancestry by unreasonably pointing a gun at, handcuffing, detaining, and assaulting
15 Plaintiffs, and additionally jailing and fabricating evidence against Plaintiff Porter and
16 submitting that evidence to have her falsely prosecuted. Plaintiffs had done nothing
17 wrong, and their only distinguishing characteristic was that they are identifiably Black.
18 Indeed, Deputy McCampbell had racially demeaned Mr. Powell by referring to him as
19 “young man,” which to Mr. Powell sounded like the racial slur “boy” used to demean
20 Black men. The Defendant Deputies together pulled out Ms. Porter’s braids as they were
21 beating her, which, for a Black woman, is not only very painful but soul crushing
22 because it takes years of care and grooming to grow and develop the locks.
23         124. As discussed in detail above, Deputies McCampbell and McDowell are
24 supervised by Defendant Sgt. Roy Stockton, who is reported to have ties to the extremist
25 group The Three Percenters, whose members have openly espoused racists beliefs and
26 made racist remarks. Sgt. Stockton knowingly approved the false reports written by
27 Deputies McDowell and McCampbell to cover up their racially motivated attack on
28 Plaintiffs and to have Ms. Porter falsely charged.

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 1         125. The SCSO and County refuse to appropriately and transparently investigate
 2 their deputies’ membership and affiliation with the extremist group The Three
 3 Percenters, and/or other such racist and extremist groups, and instead conceal, condone,
 4 and permit racist and violent extremist ideologies within their ranks.
 5         126. As a direct and proximate result of Defendants’ aforementioned acts,
 6 Plaintiffs were injured as set forth above.
 7         127. Individual defendants are personally liable under the Ralph Civil Rights Act.
 8         128. The County and the SCSO are separately vicariously liable under state law,
 9 because their employees, acting within the course and scope of their duties, are liable for
10 this state law violation. Cal. Gov. Code § 815.2.
11
12                                  SEVENTH CLAIM FOR RELIEF
13                                    CAL. GOV. CODE § 815.6
14                                      (Aiding & Abetting)
15                                     (Against All Defendants)
16         129. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
17 claim for relief against all Defendants, who aided and abetted one another in the acts
18 alleged in this claim, and reallege and incorporate by reference in this claim each and
19 every allegation of the preceding paragraphs, with the same force and effect as though
20 fully set forth herein.
21         130. “Where a public entity is under a mandatory duty imposed by an enactment
22 that is designed to protect against the risk of a particular kind of injury, the public entity
23 is liable for an injury of that kind proximately caused by its failure to discharge the duty
24 unless the public entity establishes that it exercised reasonable diligence to discharge the
25 duty.” Cal. Gov. Code § 815.6.
26         131. California Penal Code Section 853.5 imposes a duty upon peace officers to
27 not take into custody any person seized for a traffic infraction, and the person may be
28 taken into custody only if that person is unable to present identification or refuses to sign

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 1 a notice to appear. Cal. Pen. Code § 853.5(a). The statute is clearly designed to protect
 2 the public from unreasonably being taken into custody by peace officers investigating a
 3 traffic infraction.
 4         132. As described in detail above in Section IV (Facts Common to All Counts),
 5 Defendants, acting under color of state law, failed to discharge their duty in that, for the
 6 pretextual reason they claim they approached Ms. Porter—a mismatched license plate—
 7 Defendants took Ms. Porter into custody without so much as asking for an identification
 8 or explanation even though she was more than willing to provide those. They never
 9 questioned her about the mismatched license plate or presented her with any citation or
10 notice to appear. Instead, Deputies McCampbell and McDowell took Plaintiffs into
11 custody without cause. Defendant Stockton failed to perform his duty to appropriately
12 supervise the Defendant Deputies, and rather aided and abetted them in covering up the
13 violations, knowingly approving their falsified reports for submission to the District
14 Attorney’s Office to recommend prosecution against Ms. Porter in order to shield
15 Defendants from liability.
16         133. Defendants are therefore liable under Cal. Gov. Code § 815.6.
17
18                                  EIGHTH CLAIM FOR RELIEF
19                                    FALSE IMPRISONMENT
20                                   (AIDING AND ABETTING)
21                                    (Against All Defendants)
22         134. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
23 claim for relief against all Defendants, who aided and abetted one another in the acts
24 alleged in this claim, and reallege and incorporate by reference in this claim each and
25 every allegation of the preceding paragraphs, with the same force and effect as though
26 fully set forth herein.
27         135. “False imprisonment involves the intentional confinement of another against
28 the person’s will. The elements are (1) nonconsensual, intentional confinement of a

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 1 person, (2) without lawful privilege, (3) for an appreciable period of time, however
 2 brief.” Bocanegra v. Jakubowski, 241 Cal. App. 4th 848, 854 (2015) (citations omitted).
 3 See also Young v. City of Los Angeles, 655 F.3d 1156, 1169 (9th Cir. 2011).
 4         136. As described in detail above in Section IV (Facts Common to All Counts),
 5 Defendants, acting under color of state law, intentionally, recklessly, and negligently
 6 took and held Plaintiffs in custody and confined them against their will for an appreciable
 7 period of time, even though they had no privilege to do so, and constitutional and state
 8 statutory law explicitly prohibited Defendants from doing so. See U.S. Const., amend. IV
 9 and XIV; Cal. Const., art. 1, §§ 7 and 13; Cal. Pen. Code § 853.5. Defendant Stockton
10 failed to perform his duty to appropriately supervise the Defendant Deputies, and rather
11 aided and abetted them in covering up the violations, knowingly approving their falsified
12 reports for submission to the District Attorney’s Office to recommend prosecution
13 against Ms. Porter in order to shield Defendants from liability.
14         137. Individual defendants are personally liable for false imprisonment.
15         138. The County and the SCSO are separately vicariously liable under state law,
16 because their employees, acting within the course and scope of their duties, are liable for
17 this state law violation. Cal. Gov. Code § 815.2.
18
19                                  NINTH CLAIM FOR RELIEF
20                                    ASSAULT & BATTERY
21                                   (AIDING AND ABETTING)
22                                   (Against All Defendants)
23         139. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
24 claim for relief against all Defendants, who aided and abetted one another in the acts
25 alleged in this claim, and reallege and incorporate by reference in this claim each and
26 every allegation of the preceding paragraphs, with the same force and effect as though
27 fully set forth herein.
28         140. “The essential elements of a cause of action for assault are: (1) defendant

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 1 acted with intent to cause harmful or offensive contact, or threatened to touch plaintiff in
 2 a harmful or offensive manner; (2) plaintiff reasonably believed she was about to be
 3 touched in a harmful or offensive manner or it reasonably appeared to plaintiff that
 4 defendant was about to carry out the threat; (3) plaintiff did not consent to defendant’s
 5 conduct; (4) plaintiff was harmed; and (5) defendant’s conduct was a substantial factor in
 6 causing plaintiff’s harm.” So v. Shin, 212 Cal.App.4th 652, 668-69 (2013).
 7         141. “The essential elements of a cause of action for battery are: (1) defendant
 8 touched plaintiff, or caused plaintiff to be touched, with the intent to harm or offend
 9 plaintiff; (2) plaintiff did not consent to the touching; (3) plaintiff was harmed or
10 offended by defendant’s conduct; and (4) a reasonable person in plaintiff’s position
11 would have been offended by the touching.” Id. at 669.
12         142. As described in detail above in Section IV (Facts Common to All Counts),
13 Defendants, acting under color of state law, intentionally, recklessly, and negligently, and
14 with the intent to harm Plaintiffs, pointed one or more guns at Plaintiffs, placed Plaintiffs
15 in handcuffs, took Plaintiffs into custody and confined them against their will, and beat
16 Plaintiff Porter out of consciousness even though constitutional and state statutory law
17 explicitly prohibited Defendants from doing so. See U.S. Const., amend. IV and XIV;
18 Cal. Const., art. 1, §§ 7 and 13; Cal. Pen. Code § 853.5. Defendant Stockton failed to
19 perform his duty to appropriately supervise the Defendant Deputies, and rather aided and
20 abetted them in covering up the violations, knowingly approving their falsified reports
21 for submission to the District Attorney’s Office to recommend prosecution against Ms.
22 Porter in order to shield Defendants from liability.
23         143. Plaintiffs did not consent to Defendants’ offensive conduct and reasonably
24 believed that they were going to be harmed and were harmed, as any reasonable person
25 in Plaintiffs’ position would have been.
26         144. Defendants’ offensive conduct directly and proximately injured Plaintiffs.
27         145. Individual defendants McCampbell and McDowell are personally liable for
28 assault and battery.

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 1         146. The County and the SCSO are separately vicariously liable under state law,
 2 because their employees, acting within the course and scope of their duties, are liable for
 3 this state law violation. Cal. Gov. Code § 815.2.
 4
 5                                  TENTH CLAIM FOR RELIEF
 6                     INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS
 7                                   (AIDING AND ABETTING)
 8                                    (Against All Defendants)
 9         147. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
10 claim for relief against all Defendants, who aided and abetted one another in the acts
11 alleged in this claim, and reallege and incorporate by reference in this claim each and
12 every allegation of the preceding paragraphs, with the same force and effect as though
13 fully set forth herein.
14         148. “A cause of action for intentional infliction of emotional distress exists
15 when there is (1) extreme and outrageous conduct by the defendant with the intention of
16 causing, or reckless disregard of the probability of causing, emotional distress; (2) the
17 plaintiff’s suffering severe or extreme emotional distress; and (3) actual and proximate
18 causation of the emotional distress by the defendant’s outrageous conduct.” Hughes v.
19 Pair, 46 Cal.4th 1035,1050-1051 (2009) (internal quotation marks omitted).
20         149. As described in detail above in Section IV (Facts Common to All Counts),
21 Defendants, acting under color of state law, intentionally, recklessly, and negligently, and
22 with the intent to harm Plaintiffs, pointed one or more guns at Plaintiffs, placed Plaintiffs
23 in handcuffs, took Plaintiffs into custody and confined them against their will, beat
24 Plaintiff Porter out of consciousness, and imprisoned and attempted to bring fabricated
25 charges against Ms. Porter on the basis of false statements in order to conceal their own
26 unlawful acts, even though constitutional and state statutory law explicitly prohibited
27 Defendants from doing so. See U.S. Const., amend. IV and XIV; Cal. Const., art. 1, §§ 7
28 and 13; Cal. Pen. Code § 853.5. Defendant Stockton failed to perform his duty to

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 1 appropriately supervise the Defendant Deputies, and rather aided and abetted them in
 2 covering up the violations, knowingly approving their falsified reports for submission to
 3 the District Attorney’s Office to recommend prosecution against Ms. Porter in order to
 4 shield Defendants from liability.
 5         150. Defendants’ conduct was extreme and outrageous and was done with the
 6 intention of causing, or in reckless disregard of the probability of causing, emotional
 7 distress to Plaintiffs. Defendants’ conduct was carried out in direct violation of
 8 constitutional and statutory law and in a willful abuse of power; it was intended to cause
 9 extreme injury to Plaintiffs and their children with the realization that it would do so.
10 Defendants’ conduct was so extreme as to exceed all bounds of that usually tolerated in a
11 civilized community.
12         151. Plaintiffs suffered severe or extreme emotional distress and injury as a direct
13 and proximate result of Defendants’ outrageous conduct.
14         152. Defendants’ offensive conduct directly and proximately injured Plaintiffs.
15         153. Individual defendants McCampbell and McDowell are personally liable for
16 assault and battery.
17         154. The County and the SCSO are separately vicariously liable under state law,
18 because their employees, acting within the course and scope of their duties, are liable for
19 this state law violation. Cal. Gov. Code § 815.2.
20
21                                ELEVENTH CLAIM FOR RELIEF
22                                     NEGLIGENCE PER SE
23                                   (AIDING AND ABETTING)
24                                    (Against All Defendants)
25         155. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this claim
26 for relief against all Defendants, who aided and abetted one another in the acts alleged in
27 this claim, and reallege and incorporate by reference in this claim each and every allegation
28 of the preceding paragraphs, with the same force and effect as though fully set forth herein.

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 1         156. To establish negligence per se, “plaintiff must show that (1) defendant
 2 violated a statute, ordinance or regulation of a public entity, (2) the violation proximately
 3 caused his injury, (3) the injury resulted from an occurrence of the nature which the statute
 4 was designed to prevent; [and] (4) he was one of the class of persons for whose protection
 5 the statute was adopted.” Sierra-Bay Fed. Land Bank Assn. v. Superior Court, 227 Cal.
 6 App. 3d 318, 336 (1991).
 7         157. Plaintiffs belong to the class of persons that Cal. Pen. Code § 853.5 was
 8 designed to protect.
 9         158. As detailed in Section IV (Facts Common to All Counts) and the claims
10 above, acting under color of state law, Defendants McCampbell and McDowell violated
11 Cal. Pen. Code § 853.5, and Defendant Stockton failed to perform his duty to appropriately
12 supervise the Defendant Deputies, and rather aided and abetted them in covering up the
13 violations, knowingly approving their falsified reports for submission to the District
14 Attorney’s Office to recommend prosecution against Ms. Porter in order to shield
15 Defendants from liability.
16         159. These violations directly and proximately caused injury to Plaintiffs and the
17 injury resulted from an occurrence the nature of which Cal. Pen. Code § 853.5 was
18 designed to prevent.
19         160. Plaintiffs belong to the class of persons that the Bane Civil Rights Act was
20 designed to protect.
21         161. As detailed in Section IV (Facts Common to All Counts) and the claims
22 above, acting under color of state law, Defendants McCampbell and McDowell violated
23 the Bane Civil Rights Act, and Defendant Stockton failed to perform his duty to
24 appropriately supervise the Defendant Deputies, and rather aided and abetted them in
25 covering up the violations, knowingly approving their falsified reports for submission to
26 the District Attorney’s Office to recommend prosecution against Ms. Porter in order to
27 shield Defendants from liability.
28

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 1        162. These violations directly and proximately caused injury to Plaintiffs and the
 2 injury resulted from an occurrence of the nature which the Bane Civil Rights Act was
 3 designed to prevent.
 4        163. Plaintiffs belong to the class of persons that the Ralph Civil Rights Act was
 5 designed to protect.
 6        164. As detailed in Section IV (Facts Common to All Counts) and the claims
 7 above, acting under color of state law, Defendants McCampbell and McDowell violated
 8 the Ralph Civil Rights Act, and Defendant Stockton failed to perform his duty to
 9 appropriately supervise the Defendant Deputies, and rather aided and abetted them in
10 covering up the violations, knowingly approving their falsified reports for submission to
11 the District Attorney’s Office to recommend prosecution against Ms. Porter in order to
12 shield Defendants from liability.
13        165. These violations directly and proximately caused injury to Plaintiffs and the
14 injury resulted from an occurrence of the nature which the Ralph Civil Rights Act was
15 designed to prevent.
16        166. Plaintiffs belong to the class of persons that the Cal. Gov. Code § 815.6 was
17 designed to protect.
18        167. As detailed in Section IV (Facts Common to All Counts) and the claims
19 above, acting under color of state law, Defendants McCampbell and McDowell violated
20 Cal. Gov. Code § 815.6, Defendant Stockton failed to perform his duty to appropriately
21 supervise the Defendant Deputies, and rather aided and abetted them in covering up the
22 violations, knowingly approving their falsified reports for submission to the District
23 Attorney’s Office to recommend prosecution against Ms. Porter in order to shield
24 Defendants from liability.
25        168. These violations directly and proximately caused injury to Plaintiffs and the
26 injury resulted from an occurrence of the nature which Cal. Gov. Code § 815.6 was
27 designed to prevent.
28        169. Individual defendants are personally liable for negligence per se.

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 1         170. The County and the SCSO are separately vicariously liable under state law,
 2 because their employees, acting within the course and scope of their duties, are liable for
 3 this state law violation. Cal. Gov. Code § 815.2.
 4
 5                                  TWELFTH CLAIM FOR RELIEF
 6                                          NEGLIGENCE
 7                                  (MALICE AND OPPRESSION)
 8                                    (Against All Defendants)
 9         171. Plaintiffs Nakia Porter and Joe Berry Powell, Jr. (“Plaintiffs”) bring this
10 claim against all Defendants, and reallege and incorporate by reference in this claim each
11 and every allegation of the preceding paragraphs, with the same force and effect as
12 though fully set forth herein.
13         172. At all times material to this complaint, Defendants, and specifically Sgt.
14 Stockton, under color of law, had a duty to supervise Deputies McCampbell and
15 McDowell (the “Defendant Deputies”).
16         173. As described in detail above in Section IV (Facts Common to All Counts),
17 the Defendant Deputies, acting under color of state law, unlawfully seized Plaintiffs and
18 used excessive force against them and intentionally committed violence and intimidation
19 by threat of violence against Plaintiffs on account of their race, color, and ancestry, all by
20 unreasonably pointing a gun at, handcuffing, detaining, and assaulting Plaintiffs, as well
21 as jailing and fabricating evidence against Plaintiff Porter and submitting that evidence to
22 have her falsely prosecuted. Plaintiffs had done nothing wrong, and their only
23 distinguishing characteristic was that they are identifiably Black. Indeed, Deputy
24 McCampbell had racially demeaned Mr. Powell by referring to him as “young man,”
25 which to Mr. Powell sounded like the racial slur “boy” used to demean Black men. The
26 Defendant Deputies together pulled out Ms. Porter’s braids as they were beating her,
27 which, for a Black woman, is not only very painful but soul crushing because it takes
28 years of care and grooming to grow and develop the locks. At a minimum, the Defendant

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 1 Deputies acted negligently and, in doing so, engaged in malice and oppression and
 2 despicable conduct with a willful and conscious disregard of the rights or safety of
 3 Plaintiffs.
 4         174. As discussed in detail above, Deputies McCampbell and McDowell are
 5 supervised by Defendant Sgt. Roy Stockton, who is reported to have ties to the extremist
 6 group The Three Percenters, whose members have openly espoused violent, extremist
 7 beliefs and made racist remarks. Sgt. Stockton knowingly or, at a minimum, negligently
 8 approved the false reports written by Deputies McDowell and McCampbell to cover up
 9 their attack on Plaintiffs and to have Ms. Porter falsely charged, all of which appears to
10 be racially motivated and unconstitutional regardless of racial bias. Sgt. Stockton thus
11 engaged in malice and oppression and despicable conduct with a willful and conscious
12 disregard of the rights or safety of Plaintiffs.
13         175. Despite this and despite having video evidence of misconduct, the SCSO
14 and County refuse to appropriately and transparently investigate their deputies’ use of
15 excessive force and membership and affiliation with the extremist group The Three
16 Percenters, and/or other such racist and extremist groups, and instead conceal, condone,
17 and permit racist and violent extremist ideologies within their ranks, permitting a pattern
18 of constitutional violations to persist. At a minimum, the SCSO and County have acted
19 negligently in refusing to appropriately investigate and condoning the unlawful activities
20 of Deputies McCampbell and McDowell, and Sgt. Stockton.
21         176. As a direct and proximate result of Defendants’ aforementioned acts,
22 Plaintiffs were injured as set forth above.
23         177. Sgt. Stockton is personally liable for his negligence.
24         178. The County and the SCSO are directly for their negligence, and separately
25 vicariously liable under state law, because their employees, acting within the course and
26 scope of their duties, are liable for this state law violation. Cal. Gov. Code § 815.2.
27
28

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 1                                 VI.   PRAYER FOR RELIEF
 2
           WHEREFORE, on the basis of the foregoing claims, Plaintiffs pray that the Court
 3
     grant judgment against Defendants as follows:
 4
           1.     General and compensatory damages in an amount according to proof;
 5
           2.     Special damages according to proof;
 6
           3.     Injunctive relief;
 7
           4.     Costs, restitution, and multiple damages according to proof;
 8
           5.     Punitive and exemplary damages according to proof;
 9
           6.     Any and all applicable statutory and civil penalties;
10
           7.     Pre- and post-judgment interest on any amounts awarded;
11
           8.     An award of attorneys’ fees and costs, including expert costs;
12
           9.     Leave to amend this Complaint to conform to the evidence produced in
13
     discovery and at trial; and
14
           10.    Such other and further relief as the Court deems just and proper.
15
16
                                         JURY DEMAND
17
           Plaintiffs hereby demand a trial by jury on all triable issues.
18
19
20 Dated: August 18, 2021                   ALMADANI LAW

21
                                            By:          /s/ Yasin M. Almadani
22                                                 Yasin M. Almadani, Esq.
23
                                                   Attorney for Plaintiffs
24
25
26
27
28

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